Case 1:21-cr-00065-RJD Document 29 Filed 11/16/21 Page 1 of 1 PagelD #: 228

United States District Court
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
Vv. ORDER OF DETENTION PENDING TRIAL

Luis Martinelli Linares Coehiunen wes)

 

In accordance with the Bail Reform Act. 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.

Part 1 - Findings of Fact
[ial (1) The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal offense)
(State or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed)
that is
G crime of violence as defined in 18 U.S.C. §3156(a)(4).
an offense for which the maximum sentence is life imprisonment or death.
an offense for which a maximum term of imprisonment of ten years or more is prescribed in 3
[Ja felony that was committed after the defendant had been convicted of two or more prior federal offense described in
18 U.S.C. §3142(f}(1)(A)-(C), or comparable state or local offenses.
Cle) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local

offense.
Le A period of not more than five years has elapsed since the (date of conviction)(release of the defendant from imprisonment)
for the offense described in finding (1).
Le The defendant has not rebutted the presumption established by finding Nos.(1), (2) and (3) that no condition or combination of
conditions will reasonably assure the safety of (an)other person(s) and the community.

Alternative Findings (A)
IE (1) There is probable cause to believe that the defendant has committed an offense
C1 for which a maximum term of imprisonment of ten years or more is prescribed in__21 U.S.C. 8
Lod under 18 U.S.C. §924(c).
[= (2) The defendant has not rebutted the presumption established by finding (1) that no condition or combination of conditions
will reasonably assure the appearance of the defendant as required and the safety of the community.

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/ Alternative Findings (B)
(1) There is a serious risk that the defendant will not appear.

Le There is a serious risk that the defendant will endanger the safety of another person or the community.

 

 

Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by a preponderance of the evidence/clear-and
convincing-evidence that no conditions will reasonably assure defendant 's appearance/the-safety-of the-community- because
Y defendant lacks substantial ties to the community.
Liydefendant is not a U.S. citizen and-an-iltegal-alien:
(_] defendant has no stable history of employment.
(_] defendant presented no credible sureties to assure his appearance.
(2 but leave is granted to reopen and present a bail package in the future. :
[2Jdefendant's family resides primarily in Pasaa, ne a Nn) ekhaditun COuM[y 7

 

 

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Part III - Directions Regarding Detention bag

The defendant is committed to the custody of the Attomey General or his designated representative for confinement in a corrections Deuce!
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant
shall be afforded a reasonable opportunity for private consultation with defense counsel. On order ofa court of the United States or on request
of an attomey for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for
the purpose of an appearance in connection with a court proceeding.

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Brooklyn. New York . i

UNITED STATES MAGISTRATE JUDGE
